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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF VIRGINIA
                                    ALEXANDRIA DIVISION

  STEVEE JONES,

             Plaintiff,

  v.                                                     CASE NO.:

  NAVIENT SOLUTIONS, LLC f/k/a                           DEMAND FOR TRIAL BY JURY
  SALLIE MAE, INC.,

             Defendant.
                                          /

                                              COMPLAINT

       Plaintiff, Stevee Jones (hereinafter “Plaintiff”), by and through the undersigned counsel,

sues Defendant, Navient Solutions, LLC f/k/a Sallie Mae, Inc. (hereinafter “Defendant”), and in

support thereof respectfully alleges violations of the Federal Telephone Consumer Protection Act,

47 U.S.C. § 227 et seq. (“TCPA”).

                                         INTRODUCTION

        1.         The TCPA was enacted to prevent companies like Defendant from invading

American citizen’s privacy and to prevent abusive “robo-calls.”

        2.         “The TCPA is designed to protect individual consumers from receiving intrusive

and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740 (2012).

        3.         “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of

modern civilization, they wake us up in the morning; they interrupt our dinner at night; they

force the sick and elderly out of bed; they hound us until we want to rip the telephone out of the

wall.” 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone
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subscribers another option: telling the autodialers to simply stop calling.” Osorio v. State Farm

Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

        4.     According to the Federal Communications Commission (FCC), “Unwanted calls

and texts are the number one complaint to the FCC. There are thousands of complaints to the

FCC every month on both telemarketing and robocalls. The FCC received more than 215,000

TCPA complaints in 2014.” Fact Sheet: Wheeler Proposal to Protect and Empower Consumers

Against Unwanted Robocalls, Texts to Wireless Phones, Federal Communications Commission,

(May 27, 2015), https://apps.fcc.gov/edocs_public/attachmatch/DOC-333676A1.pdf.

                                 JURISDICTION AND VENUE

         5.    Jurisdiction and venue, for purposes of this action, are appropriate and conferred

by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the

TCPA.

         6.    Subject matter jurisdiction and federal question jurisdiction, for purposes of this

action, are appropriate and conferred by 28 U.S.C. § 1331, which provides that the District

Courts shall have original jurisdiction of all civil actions arising under the Constitution, laws, or

treaties of the United States; and, this action involves violations of 47 U.S.C. § 227(b)(1)(A)(iii).

See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank,

F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014).

        7.     Venue is proper in this District as Defendant’s principal office is within this

District, in Fairfax County, Virginia.

                                  FACTUAL ALLEGATIONS

        8.     Plaintiff is a natural person and citizen of the State of Michigan, residing in

Wayne County, Michigan.
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       9.      Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d

1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th Cir. 2014).

       10.     Defendant is a corporation responsible for attempting to collect an alleged

consumer debt from Plaintiff.

       11.     Defendant is a corporate entity with its principal place of business located at 2001

Edmund Halley Drive, Reston, Virginia 20191, has a registered agent, Corporation Service

Company, located in Virginia at Bank of America Center 16th Floor, 1111 East Main Street,

Richmond, Virginia 23219, and which conducts business within the State of Michigan.

       12.     Plaintiff is the subscriber, regular user and carrier of the cellular telephone

number at issue in this action, (313) XXX-2484 (hereinafter “cellular telephone”), and was the

called party and recipient of Defendant’s hereinafter described calls.

       13.     Defendant intentionally, knowingly and/or willfully harassed and abused Plaintiff

on numerous occasions by calling Plaintiff’s cellular telephone, over the last 6 years, with such

frequency as can reasonably be expected to harass and in effort to collect upon an alleged debt.

       14.     Defendant’s calls to Plaintiff continued, on average, once per day.

       15.     Upon information and belief, some or all of the calls Defendant placed to

Plaintiff’s cellular telephone were placed using an “automatic telephone dialing system”

(hereinafter “Autodialer”), which has the capacity to store or produce telephone numbers to be

called, using a random or sequential number generator (including but not limited to a predictive

dialer) or an artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C §

227(a)(1) (hereinafter “autodialer calls”).

       16.     Furthermore, each of the calls at issue were placed by Defendant using an

artificial or prerecorded voice, as specified by the TCPA, 47 U.S.C. § 227(b)(1)(A).
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       17.      Defendant began bombarding Plaintiff’s cellular telephone in attempt to collect an

alleged debt.

       18.      Upon receipt of the calls, Plaintiff’s caller identification feature identified the

calls were being initiated from, but not limited to, the phone numbers 800-722-1300, 317-595-

1242, 313-817-7074, and 302-283-2982.

       19.      On several occasions over the last several years, going back to at least 2012,

Plaintiff instructed Defendant’s agents to stop calling his cellular telephone.

       20.      At all material times hereto, Defendant, was attempting to collect a consumer debt

owed by “Michael Lansford,” an individual other than Plaintiff.

       21.      Upon Plaintiff’s receipt of one such call from Defendant, Plaintiff answered the

call, received Defendant’s artificial or prerecorded message, held on the line to be connected to a

live agent/representative and informed said agent/representative to immediately cease all calls to

his cellular telephone and that he is not “Michael Lansford;” furthermore, Plaintiff informed

Defendant’s aforementioned agent/representative that its incessant calls were harassing him and

demanded Defendant immediately cease all calls to his cellular telephone; thereby,

unequivocally revoking any previously perceived expressed consent to be called using

Defendant’s Autodialer, predictive dialer, artificial voice or prerecorded message.

       22.      During    the    aforementioned      phone     conversation       with   Defendant’s

agent/representative, Plaintiff explicitly revoked any previously perceived expressed consent

Defendant may have believed it had for placement of telephone calls to Plaintiff’s cellular

telephone by the use of an Autodialer or artificial voice or prerecorded message.

       23.      Each subsequent call Defendant placed to Plaintiff’s cellular telephone was done

so after he revoked consent and without the express consent of Plaintiff.
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        24.    Each subsequent call Defendant placed to Plaintiff’s cellular telephone was

knowingly and willfully placed to his cellular telephone without express consent.

        25.    On multiple occasions, Plaintiff informed Defendant to immediately cease calling

his cellular telephone; however, despite these attempts, Defendant’s calls to Plaintiff’s cellular

telephone continued.

        26.    Defendant called Plaintiff on his cellular telephone in excess of two hundred fifty

(250) times in attempt to collect an alleged debt.

        27.    Due to the extreme volume of calls Plaintiff received, Plaintiff was unable to

maintain a fully contemporaneous call log of each and every call he received from Defendant;

however, the following is a sample of calls Plaintiff received from November 11, 2012 through

November 12, 2012 calls continued from at least this time period until the file of the complaint:

                   i. November 11, 2012 at 1:28 p.m.;

                   ii. November 11, 2012 at 1:38 p.m.;

                  iii. November 11, 2012 at 1:39 p.m.;

                  iv. November 12, 2012 at 1:28 p.m.;

                   v. November 12, 2012 at 1:29 p.m.;

                  vi. November 12, 2012 at 6:54 p.m.; and

                 vii. November 12, 2012 at 6:55 p.m.

        28.    Defendant has, or should be in possession and/or control of, call logs, account

notes, Autodialer reports and/or other records that detail the exact number of calls it placed to

Plaintiff.
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        29.     Despite actual knowledge of its wrongdoing, Defendant continued its campaign of

abuse by continuing to call Plaintiff despite not having Plaintiff’s express consent to call his

cellular telephone.

        30.     Defendant has corporate policies and/or procedures to use an Autodialer or

artificial voice or prerecorded message, and to place autodialed calls, just as it did to Plaintiff’s

cellular telephone in this case, with no way for the called party and recipient of the calls,

including Defendant, to permit, elect, or invoke the removal of Plaintiff’s cellular number from

Defendant’s call list.

        31.     The structure of Defendant’s corporate policies and procedures permits the

continuation of calls to individuals like Plaintiff, despite these individuals revoking any consent,

or perceived consent, Defendant may have believed it had to place such calls.

        32.     Defendant’s corporate policies and procedures provided no means for Plaintiff to

have his cellular number removed from Defendant’s call list; or, otherwise invoke and/or request

the cessation and/or suppression of calls to Plaintiff from Defendant.

        33.     Defendant has corporate policies or procedures of using an Autodialer or an

artificial voice or prerecorded message to collect alleged debts from individuals, such as

Plaintiff, for its financial benefit.

        34.     Defendant has had numerous complaints from consumers across the country

against it asking to not be called; however, Defendant continues to call consumers.

        35.     Defendant has numerous other federal lawsuits pending against it alleging similar

violations as stated in this Complaint.

        36.     Defendant has numerous complaints against it, across the country, asserting that

its Autodialer continues to call individuals who have revoked consent to be called by Defendant.
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       37.     Defendant knowingly employs methods and/or has corporate policies and/or

procedures designed to harass and abuse individuals such as Plaintiff.

       38.     Defendant knowingly employs methods that do not permit the cessation or

suppression of autodialed calls to Plaintiff’s cellular telephone.

       39.     None of Defendant’s telephone calls placed to Plaintiff were placed for

“emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

       40.     As recently acknowledged by Judge Easterbrook of the Seventh Circuit Court of

Appeals in Patriotic Veterans, Inc. v. Zoeller, “every call uses some of the phone owner’s time

and mental energy, both of which are precious.”

       41.     For each call Defendant placed to Plaintiff’s cellular telephone without express

consent, Plaintiff suffered from the occupation of his cellular telephone line and cellular

telephone by unwelcomed calls which made the cellular phone unavailable for legitimate

incoming or outgoing calls.

       42.     For each call Defendant placed to Plaintiff’s cellular telephone without express

consent, Plaintiff suffered from unnecessary expenditure of his time. The time Plaintiff spent on

answered calls was unnecessary because he repeatedly asked for calls to stop. Additionally,

Plaintiff expended unnecessary time for unanswered calls by dealing with notifications and call

logs that reflected the unwanted calls. Furthermore, this also impaired the usefulness of these

features of Plaintiff’s cellular telephone, which are designed to inform the user of important

missed communications.

       43.     Each and every call placed without express consent by Defendant to Plaintiff’s

cell phone was an injury in the form of a nuisance and annoyance to the Plaintiff.
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        44.     Each and every call Defendant placed to Plaintiff’s cellular telephone without

express consent resulted in the injury of unnecessary expenditure of Plaintiff’s cellular

telephone’s battery power.

        45.     Each and every call Defendant placed to Plaintiff’s cellular telephone without

express consent resulted in the injury of trespass to Plaintiff’s chattel, namely his cellular

telephone and cellular telephone services.

        46.     As a result of aforementioned tenacious phone calls and collection efforts,

Plaintiff was affected, both personally and individually, as he experienced an invasion of privacy

and the intrusion upon his right of seclusion. Plaintiff also suffered from telephone toll charges

and telephone charges for an unlisted number. Additionally, Plaintiff experienced loss of

happiness, concentration, sleep, reputation, and privacy. Furthermore, Plaintiff was hindered by

the loss of phone battery life and phone minutes as well as the cost of additional charging, and

the intrusion upon and occupation of the capacity of his cell phone. All of the abovementioned

were caused by, and/or directly related to, Defendant’s attempts to collect a consumer debt

allegedly owed by Plaintiff.

                                            COUNT I
                                     (Violation of the TCPA)

        47.     Plaintiff incorporates and realleges paragraphs one (1) through forty-six (46) as if

fully set forth herein.

        48.     Defendant willfully violated the TCPA with respect to Plaintiff, especially for

each of the Autodialer calls it made to Plaintiff’s cellular telephone after Plaintiff notified and

requested Defendant that he wished for the calls to immediately cease.
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       49.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s cellular

telephone using an Autodialer or artificial voice or prerecorded voice message without Plaintiff’s

prior express consent and in violation of federal law, including 47 U.S.C § 227(b)(1)(A)(iii).

       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant for statutory damages, punitive damages, actual damages, treble

damages, enjoinder from further violations of these parts and any other such relief the Court may

deem just and proper.



                                                     Respectfully submitted,


                                                      /s/ Hyatt Shirkey
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